     Case 5:17-cv-01982 Document 50 Filed 02/22/19 Page 1 of 1 PageID #: 498




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   BECKLEY DIVISION


WAYNE COX and
KATHY COX,

                            Plaintiffs,

v.                                               CIVIL ACTION NO. 5:17-cv-01982

BRANCH BANKING AND
TRUST COMPANY,

                            Defendant.



                                 ORDER OF DISMISSAL


       In accordance with the Final Approval Order (Document 49) approving the settlement in

the above-styled matter, the Court ORDERS that this action be DISMISSED WITH

PREJUDICE and STRICKEN from the docket of the Court. The Court further ORDERS that

any motions pending at the time of this dismissal are hereby TERMINATED AS MOOT.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and to

any unrepresented party.

                                          ENTER:        February 22, 2019
